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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA                 :   Hon. Reneé M. Bumb, C.U.S.D.J.
                                          :
            v.                            :   Crim. No. 23-568
                                          :
 MANUEL A. QUINONES                       :   ORDER FOR A CONTINUANCE

      This matter having come before the Court on the joint application of Philip

R. Sellinger, United States Attorney for the District of New Jersey (by Christopher

Fell, Assistant U.S. Attorney), and defendant Manuel A. Quinones (by Stacy A.

Biancamano, Esq.), for an order granting a continuance of the proceedings in

the above-captioned matter from the date this Order is signed through and

including February 8, 2024, to permit defense counsel the reasonable time

necessary for effective preparation in this matter and to allow the parties to enter

into plea negotiations; and the defendant being aware that he has the right to

have the matter brought to trial within 70 days of the date of his appearance

before a judicial officer of this court pursuant to Title 18, United States Code,

Section 3161(c); and the defendant, through his attorney, having consented to

this continuance; and one prior continuance having been entered; and for good

and sufficient cause shown,

      IT IS THE FINDING OF THIS COURT that this action should be continued

for the following reasons:

      (1)        Both the United States and the defendant seek additional time to

                 engage in plea negotiations, which would render any subsequent

                 trial of this matter unnecessary;
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       (2)   The defendant has consented to the aforementioned continuance;

       (3)   The grant of a continuance likely will conserve judicial resources;

and;

       (4)   As a result of the foregoing, pursuant to Title 18, United States Code,

Section 3161(h)(7), the ends of justice served by granting the continuance

outweigh the best interests of the public and the defendant in a speedy trial.

       WHEREFORE, it is on this _____ day of _____________, 2023;

   ORDERED that this action be, and it hereby is, continued from the date

this Order is signed through and including February 8, 2024; and it is further

       ORDERED that the period from the date this Order is signed through and

including February 8, 2024, and shall be excludable in computing time under

the Speedy Trial Act of 1974.


                                      HONORABLE RENEÉ M. BUMB
                                      Chief United States District Judge, D.N.J.
Form and entry consented to:

/s/ Christopher Fell
Christopher Fell
Assistant U.S. Attorney


 /s/ Stacy A. Biancamano
Stacy A. Biancamano, Esq.
Counsel for Defendant




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